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		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF REYNOLDS

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF REYNOLDS2018 OK 22Case Number: SCBD-6505Decided: 03/12/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 22, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 





IN THE MATTER OF THE REINSTATEMENT OF JONNA LYNN REYNOLDS TO MEMBERSHIP IN THE OKLAHOMA BAR ASSOCIATION
ORDER
Petitioner Jonna Lynn Reynolds was stricken from the roll of attorneys and suspended from the practice of law on November 20, 2012. On May 5, 2017, Reynolds petitioned this Court for reinstatement. As required by Rule 11.3 of the Rules Governing Disciplinary Proceedings, 5 O.S.2011, ch. 1, app. 1-A, a Professional Responsibility Tribunal held a hearing on Reynolds's application. The Oklahoma Bar Association supported Reynold's application for reinstatement, and the panel subsequently recommended that Reynolds be reinstated.


Upon de novo review of the record, we find:
1. Reynolds has complied with the procedural requirements necessary for reinstatement;
2. Reynolds has established by clear and convincing evidence that she has not engaged in the unauthorized practice of law in Oklahoma during her suspension;
3. Reynolds has established by clear and convincing evidence that she possesses the good moral character and fitness necessary for reinstatement to the Oklahoma Bar Association; and
4. Reynolds has established by clear and convincing evidence that she possesses the competency and learning in the law required for reinstatement without re-examination.
The petition of Jonna Lynn Reynolds for reinstatement to the Oklahoma Bar Association is therefore GRANTED, and her membership shall be reinstated upon her payment of the costs associated with these proceedings in the amount of $172.78.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12TH DAY OF MARCH, 2018.
/S/VICE CHIEF JUSTICE
Gurich, V.C.J., and Kauger, Winchester, Edmondson, Colbert, Reif, and Wyrick, JJ., concur.
Combs, C.J., dissents.




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